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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                             Norfolk Division

 CHANTEL RAY FINCH,

                   Plaintiff,

                                                                                    Case No. 2:18cv284


 WEIGH DOWN WORKSHOP
MINISTRIES,INC.,
GWEN SHAMBLIN,and
"WEIGH DOWN MINISTRIES,"

                   Defendants.


                                         OPINION & ORDER


        THIS MATTER comes before the Court on Weigh Down Workshop Ministries, Inc.'s

("Weigh Down"); Gwen Shambiin's ("Shamblin"); and "Weigh Down Ministries"'s ("WDM")

(collectively, "Defendants'") Motion to Transfer Venue to the Middle District of Tennessee (the

"Motion"), filed on June 25, 2018. Doc. 3. The Court held a hearing on this matter on February

7, 2019. For the reasons set forth herein, the Court DENIES the motion.

                                            BACKGROUND'

        This declaratory judgment-copyright case arises out of a dispute as to whether Plaintiffs

 weight-loss book, titled Waist Away the Chantel Ray Way, infringes on the weight-loss books

published by Defendants.         Plaintiffs book provides advice to readers on weight loss and a




'The Court cautions that the facts recited here are for the limited purpose of deciding the instant Motion to
Dismiss. The recited facts are not factual findings upon which the parties may rely for any other issue in
this proceeding.
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 healthier life. Doc. 1 ("Compl.") If 11. Defendants own rights to evidently similar weight-loss

 books. Doc. 3-1 jfjf 7-8.^

         Plaintiff lives and works in Virginia Beach, Virginia. Doc. 8("Finch Deck")jf 2. Plaintiff

 claims that, in her book, she describes her personal struggle with weight loss and her interviews

 with over 1,000 "thin women." Compl. jf 10. She claims that she conducted these interviews,

 researched the majority of her relevant information, and wrote the majority of her book in Virginia

 Beach. Finch Decl. jfjf 6-7. She claims that she wrote and published this book in 2017 and did not

 discover Defendants' materials until after she published her book. Compl. jf 9; Finch Decl. jf 8.

         Defendants are businesses organized under the laws ofTennessee with their principle place

 of business in the Middle District of Tennessee. Doc. 3-1 jf 3. Defendant Shamblin is a resident

 of the Middle District of Tennessee. Doc. 3-2 jf 2.

         When Defendants learned of Plaintiffs work. Defendants issued a cease and desist letter

("the Letter") to Plaintiff, telling her that Defendants were aware of her work, claiming that she

 was infringing on their works, and asking her to stop her "infringing activities." Doc. 3-1 jf 8.

 Defendants claim that this is the only communication they had with Plaintiff prior to this lawsuit.

I±f9.

         Rather than respond to the Letter, Plaintiff filed this declaratory judgment action, asking

this Court to declare that she has not infringed on any copyrights owned by Defendants.

 Defendants filed this motion to transfer venue. Defendants argue that under Federal Rule of Civil

Procedure 12(b)(3) and 28 U.S.C. § 1406, this Court should transfer this lawsuit to the Middle

 District of Tennessee, Nashville Division. Doc. 3. at 1. in the Motion, Defendants ask only that




^ Remnant Fellowship Church ("RFC") holds title to these books. Doc. 3-2 jf 3.RFC is the successor in interest of
Weigh Down Ministries and does business as Weigh Down Ministries. In 2006, Gwen Shamblin, the author oftwo
(2)of Defendants' works at issue in this case, assigned those works to RFC. Doc. 3-2 [f 3.

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this Court transfer this case to the Middle District of Tennessee under rule 12(b)(3) and section

 1406. Id Plaintiff filed her response opposing the Motion on July 6, 2018. Doc. 7. Defendants

filed their reply on July 12, 2018. On February 7, 2019, this Court held a hearing to hear oral

arguments on the Motion.

   L WHETHER VENUE IS PROPER IN THE EASTERN DISTRICT OF VIRGINIA.

          The primary issue currently before the Court is whether venue is proper in the Eastern

 District of Virginia.

 A.       LEGAL STANDARD


          Venue in copyright cases is usually governed by 28 U.S.C. § 1400. However, because this

is a declaratory judgment action, the general venue statute applies. Under 28 U.S.C. § 1391(b),

 venue is proper in a judicial district if that district meets one of the following criteria:

          (1) a judicial district in which any defendant resides, if all defendants are residents of
          the State in which the district is located;

          (2) a judicial district in which a substantial part of the events or omissions giving rise to
          the claim occurred, or a substantial part of property that is the subject of the action is
          situated; or

          (3) if there is no district in which an action may otherwise be brought as provided in this
          section, any judicial district in which any defendant is subject to the court's personal
          jurisdiction with respect to such action.

28 U.S.C.§ 1391(b). Under section 1391(b), venue can be proper in more than one judicial district.

 Mitrano v. Hawes. 377 F.3d 402, 405 (4th Cir. 2004). Unlike a motion to dismiss under rule

 12(b)(6), when a court is ruling on a motion under rule 12(b)(3), it may consider matters outside

of the pleadings. Caremark Therapeutic Services v. Leavitt. 405 F. Supp. 2d 454, 457(S.D.N.Y.

 2005).

          When analyzing venue under subsection (b)(2), courts in this circuit review the "entire

sequence of events underlying claim," rather than just reviewing the matters in dispute or those
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 events which directly lead to the lawsuit. Mitrano. 377 F.3d at 405 (rejecting the "weight of the

 contacts" venue test)(internal citations and quotations omitted).

 B.     DISCUSSION


        Plaintiff relies on 28 U.S.C. § 1391(b)(2) to establish proper venue. Doc. 7 at 3. She

 argues that this declaratory judgment action depends on her actions. Id at 5. She argues that all

 the work she put into researching and writing her book constitutes a "substantial part" of the

 underlying claim. Id Plaintiffalso argues that the facts that she received the Letter in this District

 and that the Letter asks that she take action in this District bolsters her argument. Id at 6. Plaintiff

 cites Smithfield Packing Co.. Inc. v. Suarez & Co.. Inc. as support. In that case, the court was

faced with a venue challenge in a declaratory judgment and trademark infringement case. 857 F.

 Supp. 2d 581 (E.D. Va. 2012). The court looked to the actions of both defendants and plaintiffs

in determining that there was a nexus between the district and the events of the claim. Id at 586.

        Defendant argues that receipt ofa cease and desist letter is by itselfinsufficient to establish

 venue. Doc. 4 at 4-5. In support, Defendant cites Database Am.. Inc. v. Bellsouth Advert. & Pub.

 Corp.. which held that merely receiving a single cease and desist letter does not confer proper

 venue under section 1391(b)(2) in a declaratory judgment-copyright action. 825 F. Supp. 1195,

 1225-26(D.N.J. 1993). Defendant also cites Ashboume v. Geithner. Civil Action Nos. RWT-11-

2818, RWT-11-3199, RWT-11-3456,2012 WL 2874012, *3(D. Md. July 12, 2012)("Plaintiffs

argument that venue is established by merely sending a letter into a forum is unpersuasive.")

(quoting Database), affd 491 Fed. Appx. 429(4th Cir. 2012). Doc.4 at 6-7. In their Response to

Plaintiffs Opposition, Defendants argue that the Middle District ofTennessee has more substantial

 contacts with this case, and that the facts described in Plaintiffs Declaration are insufficient to

 give this District venue over the Middle District of Tennessee. Doc. 9 at 4-10.
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          Looking at the entire sequence ofevents underlying the claim in this case,the Court FINDS

 that a substantial part ofthe events giving rise to the claim occurred in this District. The Complaint

 makes a single claim for declaratory judgment for non-infringement of copyrighted works. The

 claim necessarily entails whether Plaintiff committed copyright infringement when she wrote her

 book. In other words, the claim before the Court is one which turns on whether Plaintiff copied

 protectable, original elements of Defendants' works.                        Feist Publications. Inc. v. Rural

 Telephone Service Co.. Inc.. 499 U.S. 340,361 (1991). Therefore, the circumstances under which

the second-in-time work, that is to say Plaintiffs work, are very important to resolving this case.

 Because Plaintiff researched her work, synthesized her work, and drafted her work in the Eastern

 District of Virginia, doc. 8 If|f 3-7, a substantial part ofthe events leading to this case took place in

the Eastem District of Virginia. Moreover, if there is evidence ofPlaintiff infringing Defendants'

 copyrighted works, it is likely to be found in the Eastem District of Virginia, because Plaintiff did

 most of her work in this District.

         The Court does not decide whether this District is the proper venue, but whether it is a

 proper venue. Under the current venue statute, multiple districts could have proper venue.

 Mitrano. 377 F.3d at 405. While the Middle District of Tennessee may well be a proper venue,^

that does not change the fact that venue is appropriate in the Eastem District of Virginia.

 Accordingly, the Court FINDS that venue is proper in this District.

        U, WHETHER THIS CASE SHOULD BE TRASNFERED TO THE MIDDLE
                                        DISTRICT OF TENNESSEE.


          Defendants ask that this Court transfer venue to the Middle District of Tennessee under 28

 U.S.C. § 1406. Much oftheir argument hinges on the premise that the Eastem District of Virginia


 ^ The Court is not stating a finding that the Middle District of Tennessee is a proper venue. Because the Court
 FINDS that the Eastem District of Virginia is a proper venue and that transfer is not necessary, infra, the Court need
 not make an inquiry into the propriety of venue in Tennessee.

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 is an improper venue.        Docs. 3, 9. Consequently, much of the Plaintiffs argument is devoted

 to her assertion that venue in the Eastern District of Virginia is proper.   Doc.7. After reviewing

 the papers and arguments, the Court is nonetheless prepared to decide the transfer question.

 A.     LEGAL STANDARD

         A court may transfer a case to another judicial district when it finds that venue is improper,

 28 U.S.C. § 1406, or when it finds that venue is proper but the interests ofjustice and convenience

 lean in favor of transfer, 28 U.S.C. § 1404. Because the Court FOUND that venue is proper in

 this District, transfer under section 1406 as Defendants request would be inappropriate. § 1406

(addressing transfer procedure when venue is improper). The Court will thus analyze the parties'

 arguments under section 1404 instead.

         Section 1404 states that a court should consider "the convenience of parties and witnesses"

 and "the interest ofjustice." § 1404. Because a Plaintiffs choice offorum is accorded due weight,

 the analysis requires a balance of:(1)the plaintiffs choice ofvenue,(2)convenience ofthe parties

 and witnesses, and(3)the interests ofjustice. Smithfield. 857 F. Supp. 2d at 588.

 B.     DISCUSSION


                                     i. Plaintiff's Choice ofForum

         A plaintiffs choice offorum is entitled to substantial weight,even when that chosen forum

 is her home forum. Id There is no evidence that the Plaintiff here has forum shopped or picked

 this forum in an attempt to prejudice Defendant or gain some improper advantage. Accordingly,

 the Court accords the Plaintiffs choice substantial weight, which counsels against transfer.

                             a. Convenience ofthe Parties and Witnesses

         Defendant's inconvenience in litigating this case in Virginia is not lost on the Court.

 Evidently, there are many witnesses and exhibits pertinent to Defendant's works located in the

 Middle District of Tennessee. See Doc. 9 at 6. However, witnesses and exhibits relevant to

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 Plaintiffs work are located here in the Eastern District of Virginia, and transferring the case to the

 Middle District of Tennessee would burden Plaintiff. Doc. 8 flf 11-19. Courts will not simply

 shift the burden of travel from one party to another. Smithfield 857 F. Supp. 2d at 588.

 Accordingly, the Court FINDS that the convenience of parties and witnesses counsels against

 transfer.


                                      Hi. The Interests ofJustice

        The interests ofjustice factor considers a variety of considerations, such as "the pendency

 of a related action, the court's familiarity with the applicable law, docket conditions, access to

 premises that might have to be viewed,the possibility of unfair trial, the ability to join other parties,

[] the possibility of harassment," and the interest in having local controversies decided at home.

 Id. The parties do not argue much on these factors, and the Court FINDS that none ofthem weigh

 in favor of transfer.


         Accordingly, this Court DENIES Defendant's Motion to Transfer this case to the Middle

 District of Tennessee.

                                IIL PERSONAL JURISDICTION.

         At various points in their briefs. Defendants make passing claims that this Court lacks

 personal jurisdiction. Doc.4 at 7; Doc.9 at 9. Defendants do not make these peripheral claims as

 an independent basis for dismissal, rather Defendants make these points as supporting premises

 for their argument that the Eastern District of Virginia is an improper venue.         id As Plaintiffs

 correctly point out, no motion to dismiss for want of personal jurisdiction has been raised or is

 pending. Doc. 7 at 7 n.l. In the Motion itself, Defendants do not raise a personal jurisdiction

 defense; instead, they make a conclusory claim in a footnote that such a defense is not waived and

 that they "reserve the right" file such a motion if the instant Motion is denied. Doc. 3 at 1 n.1.
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           The Court takes a moment to observe that any personal jurisdiction defense appears to be

 waived, notwithstanding the Defendants' footnote. It is well settled that a party is generally

 permitted only one motion under rules 12(b)(2)-(5). Fed. R. Civ. P. \2(^Y2)\ see also Ennenea v.

 Stams. 677 F.3d 766, 773 (7th Cir. 2012)("The policy behind Rule 12(g) is to prevent piecemeal

 litigation in which a defendant moves to dismiss on one ground, loses, then files a second motion

 on another ground."). When a party fails to raise a defense listed in rule 12(b)(2)-(5)- including

 personal jurisdiction - in its first responsive pleading, or its first rule 12 motion preceding any

 responsive paper, that defense is waived. Id at R. 12(h)(1). Accordingly, when a party makes a

 motion under Rule 12(b)(3), but does not move to dismiss under rule 12(b)(2), the party waives

 objection to personal jurisdiction. Uffner v. La Reunion Fracaise. S.A.. 244 F.3d 38, 40 (1st Cir.

2001); IHFC Properties. LLC v. APA Marketing. Inc.. 850 F. Supp. 2d 604, 615 n.6 (M.D.N.C.

2012); Gen. Design Sign Co. v. Am. General Design. Inc.. No. Civ. 3:02-cv-2298-H, 2003 WL

 251931, at *1 (Jan. 31, 2003"): see also Mvers v. Am. Dental Ass'n. 695 F. 2d 716, 721 (3d Cir.

 1982).

                                           CONCLUSION


           Because the Court FINDS that a substantial portion ofthe events leading the instant claim

 took place in the Eastern District of Virginia, the Court FINDS that this District is an appropriate

 venue for this case. Because the interests ofjustice and the convenience ofthe parties and witnesses

 do not call for transfer, the Court DENIES Defendant's Motion to Transfer Venue, doc. 3.

 It is SO ORDERED.

           The Clerk is REQUESTED to deliver a copy of this Opinion and Order to counsel of

 record.
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                                          Henry Coke Morgan, Jr.
 Norfolk. Virginia                        Senior United Slates District Judjj^e
 March /3\ 2019                              HENRY COKE MORGAN,JR.
                                      SENIOR UNITED STATES DISTRICT JUDGE
